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 Counsel for Plaintiffs AstraZeneca
 Pharmaceuticals LP, AstraZeneca UK
 Limited, AstraZeneca AB, KuDOS
 Pharmaceuticals Limited, and MSD
 International Business GmbH

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 ASTRAZENECA PHARMACEUTICALS
 LP, ASTRAZENECA UK LIMITED,
 ASTRAZENECA AB, KUDOS
 PHARMACEUTICALS LIMITED, and MSD
 INTERNATIONAL BUSINESS GMBH,                     Civil Action No. 24-8167

                Plaintiffs,

        v.

 CIPLA LIMITED and CIPLA USA, INC.,

                Defendants.


              CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       I, Charles H. Chevalier, admitted to the bars of the State of New Jersey and of this Court,

and a Director in the law firm of Gibbons P.C., representing Plaintiffs AstraZeneca

Pharmaceuticals LP, AstraZeneca UK Limited, AstraZeneca AB, KuDOS Pharmaceuticals

Limited, and MSD International Business GmbH, hereby certify that the patent and brand product

in controversy in this action are at issue in AstraZeneca Pharmaceuticals LP v. Natco Pharma

Limited, Civil Action No. 3:24-8162, and AstraZeneca Pharmaceuticals LP v. Sandoz Inc., Civil

Action No. 3:24-cv-8164, which is pending in the United States District Court for the District of
Case 3:24-cv-08167-RK-TJB Document 1-2 Filed 07/31/24 Page 2 of 2 PageID: 91




New Jersey.

       I further certify that the brand product in controversy in this action is at issue in

AstraZeneca Pharmaceuticals LP v. Natco Pharma Limited, Civil Action No. 3:23-796;

AstraZeneca Pharmaceuticals LP v. Sandoz Inc., Civil Action No. 3:24-cv-641; AstraZeneca

Pharmaceuticals LP v. Natco Pharma Limited, Civil Action No. 3:24-5887; AstraZeneca

Pharmaceuticals LP v. Sandoz Inc., Civil Action No. 3:24-cv-5889; and AstraZeneca

Pharmaceuticals LP v. Cipla Limited, Civil Action No. 3:24-cv-7346, which are all pending in

this District. All of these matters, except the Cipla matter, have been consolidated under Civil

Action No. 3:23-cv-796 for all pretrial purposes.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court or of any pending arbitration or administrative

proceeding.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

 Dated: July 31, 2024                               s/ Charles H. Chevalier
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                                                    Pharmaceuticals Limited, and MSD
                                                    International Business GmbH




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